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                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF OREGON

UNITED STATES OF AMERICA                 1         CR No.
                                         )
              v.                         )         INFORMATION
                                         1
JENNIFER LYNN KOLAR,                     1         [ I 8 U.S.C. §§ 371, 844(f), 844(i),
aka "Diver",                             1         1366(a) and 21
                                         )
                     Defendant.          1
                    THE UNITED STATES ATTORNEY CHARGES:

                                       COUNT I

     CONSPIRACY TO COMMIT ARSON AND DESTRUCTION OF ENERGY FACILITY

1.      OBJECT OF THE CONSPIRACY

        Beginning in October 1996 and continuing through October 2001, in the District

of Oregon and elsewhere, defendants JOSEPHINE SUNSHINE OVERAKER, KEVIN

TUBBS, STANISLAS GREGORY MEYERHOFF, DANIEL GERARD McGOWAN,

JOSEPH DIBEE, REBECCA RUBIN, CHELSEA DAWN GERLACH, KENDALL

TANKERSLEY, SUZANNE SAVOIE, JONATHAN CHRISTOPHER MARK PAUL,

JENNIFER LYNN KOLAR, DARREN TODD THURSTON, NATHAN FRASER BLOCK,

and JOYANNA L. ZACHER, and unindicted co-conspirators JACOB JEREMIAH



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FERGUSON and WILLIAM C. RODGERS, and others, willfully and knowingly conspired

and agreed to commit the following offenses against the United States:

      to maliciously damage or destroy, or attempt to damage or destroy, by

       means of fire or an explosive, any building, vehicle or other personal or

       real property in whole or in part owned or possessed by, or leased to, the

       United States or any department or agency thereof, in violation of Title 18,

       United States Code, Section 844(f)(I);

      to maliciously damage or destroy, or attempt to damage or destroy, by

       means of fire or an explosive, any building, vehicle or other real or

       personal property used in interstate commerce or in any activity affecting

       interstate commerce, in violation of Title 18, United States Code, Section

       844(i); and

       to knowingly and willfully damage and attempt to damage the property of an

energy facility of the United States involved in the transmission and distribution of

electricity, in an amount exceeding or which would have exceeded $100,000, in

violation of Title 18, United States Code, Section 1366(a).

11.    MANNER AND MEANS OF THE CONSPIRACY

       The foregoing objects of the conspiracy were to be accomplished in the following

manner and means by the above-listed defendants and others at various times during

the course of the conspiracy:

       1.     Certain of the defendants and others joined together in a group they

called the "Family." This "Family" was what is commonly known as a "cell" of groups

and movements publicly named and described by certain of the defendants and others

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as the Earth Liberation Front (ELF), the Animal Liberation Front (ALF), and other

names.

      2.       The general purposes of the conspiracy were to influence and affect the

conduct of government, commerce, private business and others in the civilian

population by means of force, violence, sabotage, mass destruction, intimidation and

coercion, and by similar means to retaliate against the conduct of government,

commerce and private business. To achieve these purposes, the conspirators

committed and attempted to commit acts dangerous to human life and property that

constituted violations of the criminal laws of the United States and of individual states.

       3.      Certain of the defendants and others targeted for arson buildings, vehicles

and other real and personal property owned, possessed, and leased by the United

States and its departments and agencies.

       4.      Certain of the defendants and others targeted for arson buildings, vehicles

and other real and personal property used in interstate commerce and in activities

affecting interstate commerce.

       5.       Certain of the defendants and another person targeted for willful damage

an energy facility of the United States involved in the transmission and distribution of

electricity, in an amount exceeding or which would have exceeded $100,000.

       6.      Certain of the defendants and others conducted and participated in

meetings to plan arsons and other damage of the targeted sites. Several of these

meetings were called "Book Club" meetings by the defendants and others and occurred

at distant locations. The "Book Club" meetings covered subjects such as lock-picking,



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computer security, encrypted messaging, reconnaissance of targets, and manufacture

of timing devices to initiate improvised incendiary devices.

       7.       Certain of the defendants and others conducted research and surveillance

of sites targeted for arson and other damage.

       8.       In discussing their actions among themselves, certain of the defendants

and others used code words, code names, and nicknames.

       9.       Certain of the defendants and others designed and constructed

destructive devices which functioned as incendiary bombs to ignite fires and destroy the

targets.

       10.      Certain of the defendants and others provided transportation to the sites

targeted for arson and other damage.

       11.      Certain of the defendants and others dressed in dark clothing, wore

masks and gloves and otherwise disguised their appearance.

       12.      Certain of the defendants and others acted as "lookouts" to ensure

secrecy as the crimes were carried out.

       13.      Certain of the defendants and others placed destructive devices and

accelerants at sites targeted for arson and ignited or attempted to ignite the devices

and accelerants.

       14.      Certain of the defendants and others, by means of fire and explosives,

maliciously damaged and destroyed, and attempted to damage and destroy, buildings,

vehicles and other real and personal property owned and possessed by the United

States and its departments and agencies.



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       15.    Certain of the defendants and others, by means of fire and explosives,

maliciously damaged and destroyed, and attempted to damage and destroy, buildings,

vehicles and other real and personal property used in interstate commerce and in

activities affecting interstate commerce.

       16.     Certain of the defendants and another person willfully damaged and

attempted to damage the property of an energy facility of the United States involved in

the transmission and distribution of electricity, in an amount exceeding or which would

have exceeded $100,000.

       17.    In some of the arsons and attempted arsons, certain of the defendants

and others painted messages on the walls of the targets, including "Earth Liberation

Front," "ELF" and related names and statements concerning the purposes of the

crimes.

       18.    After the arsons, attempted arsons and other crimes, certain of the

defendants and others provided transportation away from the scenes of the crimes.

       19.    After the arsons, attempted arsons and other crimes, certain of the

defendants and others destroyed, buried, hid and otherwise disposed of physical

evidence used in the commission of the crimes.

       20.    After the arsons, certain of the defendants and others publicized and

promoted the results of the fires by means of written press releases and communiques

attributing the arsons to the Earth Liberation Front (ELF), the Animal Liberation Front

(ALF) and related groups, and stating the purposes of the arsons.

       21.    Before, during and after the arsons, attempted arsons and other crimes,

certain of the defendants and others agreed and took an oath among themselves never

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to reveal to law enforcement authorities or to anyone else outside "the Family" the

identity of the conspirators and participants in the arsons, attempted arsons and other

crimes.

       22.    Before, during and after the arsons, attempted arsons and other crimes,

certain of the defendants and others agreed among themselves to conceal or destroy

any evidence connecting them to the arsons, attempted arsons and other crimes.

       23.    Before, during and after the arsons, attempted arsons and other crimes,

certain of the defendants and others possessed and/or used false identification

documents in order to conceal their true identities.

       24.    After the arsons, attempted arsons and other crimes, certain of the

defendants and others fled and secreted themselves in foreign countries in order to

avoid detection and arrest by law enforcement authorities in the United States.

Ill.   OVERT ACTS

       In order to carry out the objects of the conspiracy, defendants and other persons

committed various overt acts within the District of Oregon and elsewhere, including but

not limited to the following:

       1.     On or about October 28, 1996, in Marion County, Oregon, defendant

JOSEPHINE SUNSHINE OVERAKER and JACOB JEREMIAH FERGUSON unlawfully

and willfully caused and aided, abetted, counseled, commanded, induced, and

procured the attempt to damage or destroy, by means of fire and an explosive, a

building and other real and personal property owned and possessed by the United

States and the United States Forest Service of the Department of Agriculture, located at

the Detroit Ranger Station on the Willamette National Forest.

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       la.   At a time prior to October 28, 1996, defendant JOSEPHINE SUNSHINE

OVERAKER and JACOB JEREMIAH FERGUSON prepared and tested a time-delayed

incendiary device.

       Ib.   On or about October 28,1996, defendant JOSEPHINE SUNSHINE

OVERAKER and JACOB JEREMIAH FERGUSON drove to the U.S. Forest Service

Detroit Ranger Station in Marion County, Oregon, with an incendiary device which was

placed on the roof of a U.S. Forest Service building. That incendiary device failed to

function.

       lc.   On or about October 28, 1996, defendant JOSEPHINE SUNSHINE

OVERAKER spray-painted graffiti on the sides of a U.S. Forest Service building and

vehicles which included the words "Earth Liberation Front."

       2.    On or about October 28, 1996 in Marion County, Oregon, defendant

JOSEPHINE SUNSHINE OVERAKER and JACOB JEREMIAH FERGUSON unlawfully

and willfully caused and aided, abetted, counseled, commanded, induced, and

procured the malicious damaging and destroying, by means of a fire and an explosive,

a vehicle and other real and personal property owned and possessed by the United

States and the United States Forest Service of the Department of Agriculture, located at

the Detroit Ranger Station on the Willamette National Forest.

       2a.   On or about October 28, 1996, defendant JOSEPHINE SUNSHINE

OVERAKER and JACOB JEREMIAH FERGUSON intended and caused fire damage to

a U.S. Forest Service vehicle.

       3.    On or about October 30, 1996, in Lane County, Oregon, defendants

JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, and JACOB JEREMIAH

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FERGUSON unlawfully and willfully caused and aided, abetted, counseled,

commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a building and other real and personal property owned and

possessed by the United States and the United States Forest Service of the

Department of Agriculture, located at the Oakridge Ranger Station on the Willamette

National Forest.

      3a.    On or about October 30, 1996, in Lane County, Oregon, defendants

JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, and JACOB JEREMIAH

FERGUSON drove to the U.S. Forest Service Oakridge Ranger Station, and set fire to

the Ranger Station.

      3b.    On or about October 30, 1996, in Lane County, Oregon, defendants

JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, and JACOB JEREMIAH

FERGUSON, while leaving the parking lot of the U.S. Forest Service Oakridge Ranger

Station, threw nails onto the parking lot in order to slow down responding emergency

vehicles.

      3c.    On or about October 30, 1996, in Lane County, Oregon, defendants

JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, and JACOB JEREMIAH

FERGUSON, while leaving the U.S. Forest Service Oakridge Ranger Station and

driving westbound on Highway 58 towards Eugene, Oregon, discarded their gloves in a

reservoir near the Lowell Bridge.

      4.     On or about July 21, 1997, at Redmond, Deschutes County, Oregon,

defendants KEVIN TUBBS, JOSEPH DIBEE, JONATHAN CHRISTOPHER MARK

PAUL, JENNIFER KOLAR, and JACOB JEREMIAH FERGUSON unlawfully and willfully

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caused and aided, abetted, counseled, commanded, induced, and procured the

malicious damaging and destroying, by means of fire and an explosive, of a building

and other real and personal property used in interstate commerce and in activities

affecting interstate commerce, at Cavel West, Inc., 1607 SE Railroad, Redmond,

Oregon.

      4a.     Approximately one week prior to the July 21, 1997 arson at Cavel West,

Inc., defendants KEVIN TUBBS, JONATHAN CHRISTOPHER MARK PAUL, JOSEPH

DIBEE, and JACOB JEREMIAH FERGUSON went on a reconnaissance in order to

locate a staging area where the participants could complete final preparations prior to

committing the arson.

      4b.     Prior to the July 21, 1997 arson at Cavel West Inc., defendants

JONATHAN CHRISTOPHER MARK PAUL, and JENNIFER LYNN KOLAR prepared a

mixture of soap and petroleum products which was the fuel used in the time-delayed

incendiary devices.

      4c.     On or about July 21, 1997, defendants KEVIN TUBBS, JOSEPH DIBEE,

JONATHAN CHRISTOPHER MARK PAUL, JENNIFER LYNN KOLAR, and JACOB

JEREMIAH FERGUSON drove to the previously chosen staging area near Cavel West,

Inc., and upon arrival dressed in dark clothing, masks, and gloves, and dug a hole at

the staging area in which to bury their dark clothing upon completion of the arson.

      4d.     On or about July 21, 1997, defendants KEVIN TUBBS, JOSEPH DIBEE,

JONATHAN CHRISTOPHER MARK PAUL, JENNIFER LYNN KOLAR, and JACOB

JEREMIAH FERGUSON completed a two-way radio check with one another and

confirmed their scanner and radios functioned properly.

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         4e.   On or about July 21, 1997, defendants KEVIN TUBBS, JOSEPH DIBEE,

JONATHAN CHRISTOPHER MARK PAUL, JENNIFER LYNN KOLAR, and JACOB

JEREMIAH FERGUSON went to the location of Cavel West, Inc., to place time-delayed

incendiary devices on and about that location.

         4f.   On or about July 21, 1997, defendant JOSEPH DIBEE drilled holes

through the wall of the Cavel West, Inc. facility so as to allow fuel to be poured directly

into the building.

         4g.   On or about July 21, 1997, defendants KEVIN TUBBS, JOSEPH DIBEE,

JONATHAN CHRISTOPHER MARK PAUL, JENNIFER LYNN KOLAR, and JACOB

JEREMIAH FERGUSON, upon placing the time-delayed incendiary devices at Cavel

West, Inc., traveled back to the staging area, removed their dark clothes and shoes,

placed them in the hole, poured acid on the clothing in the hole and then buried the

items.

         4h.   On or about July 26, 1997, certain defendants in the Cavel West arson

issued a written communique attributing the fire to the Animal Liberation Front (ALF)

and the Equine and Zebra Liberation Front. The communique was publicized by Craig

Rosebraugh of the Liberation Collective in Portland, Oregon.

         4i.   Approximately three years after July 21, 1997, defendant JOSEPH DIBEE

and JENNIFER LYNN KOLAR contacted defendant KEVIN TUBBS and told KEVIN

TUBBS to return to the staging area and retrieve the buried clothes.

         5.    On or about November 30, 1997, in Harney County, Oregon, defendants

JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, JACOB JEREMIAH

FERGUSON, REBECCA RUBIN, and unindicted co-conspirator WILLIAM C.

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RODGERS unlawfully and willfully caused and aided, abetted, counseled, commanded,

induced, and procured the malicious damaging and destroying, by means of fire and an

explosive, of buildings and other real and personal property owned and possessed by

the United States and the Bureau of Land Management of the Department of the

Interior, located at the Wild Horse and Burro Facility, Burns, Harney County, Oregon.

      5a.    Approximately three months prior to November 30, 1997, defendants

JOSEPHINE SUNSHINE OVERAKER, JACOB JEREMIAH FERGUSON, KEVIN

TUBBS, and unindicted co-conspirator WILLIAM C. RODGERS did a reconnaissance

at and near the Wild Horse and Burro Facility, to prepare themselves for the arson and

horse release.

      5b.    Sometime prior to November 30, 1997, defendant JOSEPHINE

SUNSHINE OVERAKER and JACOB JEREMIAH FERGUSON obtained five-gallon,

white plastic buckets and the fuel to be used in making time-delayed incendiary

devices.

      5c.    Sometime prior to November 30, 1997, persons known and unknown to

the Grand Jury prepared the five-gallon plastic buckets by wiping the buckets to ensure

all fingerprints were removed, and painted them with black spray paint.

      5d.    Sometime prior to November 30, 1997, defendants JOSEPHINE

SUNSHINE OVERAKER, KEVIN TUBBS, JACOB JEREMIAH FERGUSON, REBECCA

RUBIN, and unindicted co-conspirator WILLIAM C. RODGERS obtained additional

components and assembled time-delayed incendiary devices, which were composed of

kitchen timers, matches, sponges, model rocket igniters, one-gallon jugs filled with fuel

and five-gallon buckets which contained fuel.

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      5e.    On or about November 30,1997, defendants JOSEPHINE SUNSHINE

OVERAKER, KEVIN TUBBS, JACOB JEREMIAH FERGUSON, REBECCA RUBIN, and

unindicted co-conspirator WILLIAM C. RODGERS arrived at the Wild Horse and Burro

Facility, cut the lock on the front gate, released horses and burros, placed time-delayed

incendiary devices in and around the facility and left the area.

      5f.    On or about December 5, 1997, certain defendants in the Wild Horse and

Burro Facility arson issued a communique attributing the fire and horse release to the

Earth Liberation Front (ELF) and the Animal Liberation Front (ALF). The communique

was publicized by Craig Rosebraugh of the Liberation Collective in Portland, Oregon.

       6.     On or about June 21, 1998, at Olympia, Washington, in the Western

District of Washington, defendants JOSEPHINE SUNSHINE OVERAKER, KEVIN

TUBBS, JACOB JEREMIAH FERGUSON, JOSEPH DIBEE, and unindicted co-

conspirator WILLIAM C. RODGERS willfully caused and aided, abetted, counseled,

commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a building and other real and personal property leased and

possessed by the United States and the Animal, Plant and Health Inspection Service

(APHIS) of the Department of Agriculture, located at the National Wildlife Research

Facility, 9701 Blomberg Street SW, Olympia, Washington.

       6a.    Approximately two weeks before June 21, 1998, defendants KEVIN

TUBBS, JOSEPH DIBEE, and unindicted co-conspirator JACOB JEREMIAH

FERGUSON met in Olympia, Washington, to discuss plans for the APHIS arson, and

agreed at that time there would be a second and simultaneous arson committed when

the APHIS arson was to occur.

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       6b.    At a time prior to June 21, 1998, defendant JOSEPHINE SUNSHINE

OVERAKER and unindicted co-conspirator JACOB JEREMIAH FERGUSON prepared

five-gallon buckets by wiping the buckets to remove any fingerprints, and obtained fuel

for the APHlS arson.

       6c.    At a time prior to June 21, 1998, defendant KEVlN TUBBS utilized false

identification to acquire a van which was used in the APHlS arson.

       6d.    On or about June 21, 1998, defendant JOSEPHINE SUNSHINE

OVERAKER, while attempting to steal items in preparation for the APHlS arson, was

arrested by authorities for shoplifting.

       6e.    On or about June 21,1998, defendant KEVlN TUBBS and JACOB

JEREMIAH FERGUSON transferred five-gallon buckets of fuel to be used in the APHlS

arson from a van purchased by KEVlN TUBBS to a vehicle owned by unindicted co-

conspirator WILLIAM C. RODGERS.

       6f.    On or about June 21, 1998, defendant KEVlN TUBBS and unindicted co-

conspirators JACOB JEREMIAH FERGUSON and WILLIAM C. RODGERS drove to the

APHlS facility and placed five-gallon buckets filled with fuel at locations at and around

the facility, and ignited the fuel-filled buckets by hand.

       6g.    On or about June 22, 1998, certain defendants in the APHlS arson issued

a communique attributing the fire to the Earth Liberation Front (ELF) and the Animal

Liberation Front (ALF). The communique was publicized by Katie Fedor of the North

American ALF Press Office.

       6h.    At a time after June 22,1998, defendant KEVlN TUBBS assisted in the

disposal of the van used in the APHlS arson.

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      7.     In about September 1998, at Rock Springs, Wyoming, in the District of

Wyoming, defendants KEVIN TUBBS, REBECCA RUBIN, and unindicted co-

conspirators JACOB JEREMIAH FERGUSON, WILLIAM C. RODGERS, and others,

unlawfully and willfully caused and aided, abetted, counseled, commanded, induced,

and procured the attempt to damage or destroy, by means of fire and an explosive, a

building and other real and personal property owned and possessed by the United

States and the Bureau of Land Management of the Department of the Interior, located

at the Wild Horse Holding Facility, Rock Springs, Wyoming.

      7a.    In or about September 1998, defendants KEVIN TUBBS, REBECCA

RUBIN, and unindicted co-conspirators JACOB JEREMIAH FERGUSON and WILLIAM

C. RODGERS arrived at the staging area near Rock Springs, Wyoming, assigned roles,

prepared time-delayed incendiary devices, and made preparations for the arson, when

a law enforcement officer made inquiry as to their presence at that location.

      7b.    In or about September, 1998, defendants KEVIN TUBBS, REBECCA

RUBIN, and unindicted co-conspirators JACOB JEREMIAH FERGUSON, WILLIAM C.

RODGERS, and others, buried the time-delayed incendiary devices in an attempt to

avoid detection.

      8.     On or about October 11, 1998, at Rock Springs, Wyoming, in the District

of Wyoming, defendants JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS,

STANISLAS GREGORY MEYERHOFF, REBECCA RUBIN, CHELSEA DAWN

GERLACH, and unindicted co-conspirators JACOB JEREMIAH FERGUSON and

WILLIAM C. RODGERS unlawfully and willfully caused and aided, abetted, counseled,

commanded, induced, and procured the attempt to damage and destroy, by means of

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fire and an explosive, buildings and other real and personal property owned and

possessed by the United States and the Bureau of Land Management of the

Department of the Interior, located at the Wild Horse Holding Facility, Rock Springs,

Wyoming.

       8a.      On or about October II,1998, defendants JOSEPHINE SUNSHINE

OVERAKER, KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, REBECCA

RUBIN, CHELSEA DAWN GERLACH, and unindicted co-conspirators JACOB

JEREMIAH FERGUSON and WILLIAM C. RODGERS brought digital timers, containers

of fuel, two-way radios and a scanner, to a staging area near the Wild Horse Holding

Facility.

       8b.      On or about October 11, 1998, at Rock Springs, Wyoming, defendants

JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, STANISLAS GREGORY

MEYERHOFF, REBECCA RUBIN, CHELSEA DAWN GERLACH, and unindicted co-

conspirators JACOB JEREMIAH FERGUSON and WILLIAM C. RODGERS went to the

Wild Horse Holding Facility, and began the release of horses and the placing of

incendiary devices in and about the facility.

       8c.      On or about October 11, 1998, at Rock Springs, Wyoming, defendants

JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, STANISLAS GREGORY

MEYERHOFF, REBECCA RUBIN, CHELSEA DAWN GERLACH, and unindicted co-

conspirators JACOB JEREMIAH FERGUSON and WILLIAM C. RODGERS hid timing

devices in large rock out-croppings near the Wild Horse Holding Facility, after hearing

on their scanner that police had been dispatched to their location.



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       8d.    On or about November 13, 1998, certain defendants in the Wild Horse

Holding Facility attempted arson issued a statement attributing responsibility for the

horse release and attempted arson to the Animal Liberation Front (ALF).

       9.     On or about October 19, 1998, in Eagle County, Colorado, defendants

JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, STANISLAS GREGORY

MEYERHOFF, REBECCA RUBIN, CHELSEA DAWN GERLACH, and unindicted co-

conspirators JACOB JEREMIAH FERGUSON and WILLIAM C. RODGERS unlawfully

and willfully caused and aided, abetted, counseled, commanded, induced, and

procured the malicious damaging and destroying, by means of fire and explosives, of

buildings and other real and personal property used in interstate commerce and in

activities affecting interstate commerce, at the Vail Ski Facility.

       9a.    On or about October 21, 1998, certain defendants in the Vail arson issued

a communique attributing the fire to the Earth Liberation Front (ELF).

       10.    On or about December 22, 1998, at Medford, Jackson County, Oregon,

defendants KENDALL TANKERSLEY, KEVIN TUBBS, REBECCA RUBIN, and

unindicted co-conspirator JACOB JEREMIAH FERGUSON unlawfully and willfully

caused and aided, abetted, counseled, commanded, induced, and procured the attempt

to damage or destroy, by means of fire and an explosive, a building and other real and

personal property used in interstate commerce and used in activities affecting interstate

commerce, namely, an office building and its contents at U.S. Forest Industries, 261 1

Whittle Avenue, Medford, Jackson County, Oregon.

       1Oa. A few weeks prior to December 22, 1998, defendants KENDALL

TANKERSLEY, KEVIN TUBBS, REBECCA RUBIN, and unindicted co-conspirator

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JACOB JEREMIAH FERGUSON performed a reconnaissance and "dry run" for the

arson at the U.S. Forest lndustries building in Medford, Oregon.

       lob.   On or about December 22, 1998, at Medford, Jackson County, Oregon,

defendants KENDALL TANKERSLEY, KEVIN TUBBS, REBECCA RUBIN, and

unindicted co-conspirator JACOB JEREMIAH FERGUSON placed time-delayed

incendiary devices at and about the U.S. Forest lndustries building.

       1Oc.   Prior to December 27, 1998, after placement of the time-delayed

incendiary devices at the U.S. Forest lndustries building, defendant KENDALL

TANKERSLEY and unindicted co-conspirator JACOB JEREMIAH FERGUSON

searched the media and found no mention of the burning of the U.S. Forest lndustries

building.

       IOd.   Between December 22 and 27, 1998, defendant KENDALL

TANKERSLEY and another person returned to the U.S. Forest lndustries building to

check on the destructive devices.

       11.    On or about December 27, 1998, at Medford, Jackson County, Oregon,

defendant KENDALL TANKERSLEY and unindicted co-conspirator JACOB JEREMIAH

FERGUSON unlawfully and willfully caused and aided, abetted, counseled,

commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a building and other real and personal property used in

interstate commerce and used in activities affecting interstate commerce, namely, an

office building and its contents at U.S. Forest Industries, 261 1 Whittle Avenue, Medford,

Jackson County, Oregon.



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       Il a .   On or about December 27,1998, defendant KENDALL TANKERSLEY

and unindicted co-conspirator JACOB JEREMIAH FERGUSON returned to the U.S.

Forest Industries building, placed a new time-delayed incendiary device at or about the

building, and left the area.

       IIb.     On or about December 27, 1998, defendant KENDALL TANKERSLEY

and unindicted co-conspirator JACOB JEREMIAH FERGUSON traveled to Dunsmuir,

California, to avoid detection.

       Il c .   On or about December 27,1998, defendant KENDALL TANKERSLEY

registered under the false name of Teresa Capelli in the Cedar Lodge Motel in

Dunsmuir, California.

       II d . On or about January 16, 1999, certain defendants in the U.S. Forest

Industries arson issued a communique attributing the fire to the Earth Liberation Front

(ELF). The communique was publicized by Craig Rosebraugh of the Liberation

Collective in Portland, Oregon.

       12.      On or about May 9, 1999, at Eugene, Lane County, Oregon, defendants

JOSEPHINE SUNSHINE OVERAKER, KEVIN TUBBS, STANISLAS GREGORY

MEYERHOFF, CHELSEA DAWN GERLACH, and unindicted co-conspirator JACOB

JEREMIAH FERGUSON, and others, unlawfully and willfully caused and aided,

abetted, counseled, commanded, induced, and procured the malicious damaging and

destroying, by means of fire and an explosive, of a building and other real and personal

property used in interstate commerce and in activities affecting interstate commerce, at

Childers Meat Company, 29476 Airport Road, Eugene, Lane County, Oregon.



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      12a. On or about May 9, 1999, defendants JOSEPHINE SUNSHINE

OVERAKER, KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, CHELSEA

DAWN GERLACH, and unindicted co-conspirator JACOB JEREMIAH FERGUSON and

another prepared five-gallon buckets, timers and fuel for the arson which was to occur

at the Childers Meat Company, Eugene, Oregon.

      12b. On or about May 9, 1999, defendants JOSEPHINE SUNSHINE

OVERAKER, KEVIN TUBBS, STANISLAS GREGORY MEYERHOFF, CHELSEA

DAWN GERLACH, and unindicted co-conspirator JACOB JEREMIAH FERGUSON and

another traveled to the Childers Meat Company and placed one time-delayed

incendiary device near the front of the office building and placed another such device at

the back of the building near a gas meter.

       12c.   On or about May 27, 1999, certain defendants in the Childers arson

issued a communique attributing the fire to the Animal Liberation Front (ALF). The

communique was publicized by the ALF Frontline Information Service.

       13.    On or about December 25, 1999, at Monmouth, Polk County, Oregon,

defendants JOSEPHINE SUNSHINE OVERAKER, STANISLAS GREGORY

MEYERHOFF, CHELSEA DAWN GERLACH, and unindicted co-conspirator JACOB

JEREMIAH FERGUSON unlawfully and willfully caused and aided, abetted, counseled,

commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a building and other real and personal property used in

interstate commerce and in activities affecting interstate commerce, at the Boise

Cascade Office, 450 North Pacific Avenue, Monmouth, Polk County, Oregon.



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      13a. On or about December 25,1999, defendants JOSEPHINE SUNSHINE

OVERAKER, STANISLAS GREGORY MEYERHOFF, CHELSEA DAWN GERLACH,

and unindicted co-conspirator JACOB JEREMIAH FERGUSON prepared time-delayed

incendiary devices to be used at the Boise Cascade Office, and, after disguising the

devices by wrapping them in Christmas paper, transported the devices to the Boise

Cascade Office location.

      13b. On or about December 25, 1999, at Monmouth, Polk County, Oregon,

defendants JOSEPHINE SUNSHINE OVERAKER, STANISLAS GREGORY

MEYERHOFF, CHELSEA DAWN GERLACH, and unindicted co-conspirator JACOB

JEREMIAH FERGUSON placed time-delayed incendiary devices at and about the

Boise Cascade Office building and left the area.

       13c.   On or about December 30, 1999, certain defendants in the Boise

Cascade arson issued a communique attributing the fire to the Earth Liberation Front

(ELF). The communique was publicized by Craig Rosebraugh of the Liberation

Collective in Portland, Oregon, and the North American ELF Press Office.

       14.     On or about December 30,1999, in Deschutes County, Oregon,

defendants JOSEPHINE SUNSHINE OVERAKER, STANISLAS GREGORY

MEYERHOFF, CHELSEA DAWN GERLACH, and unindicted co-conspirator JACOB

JEREMIAH FERGUSON willfully damaged and attempted to damage the property of an

energy facility of the United States, namely, a Bonneville Power Administration tower,

involved in the transmission and distribution of electricity near the City of Bend, Oregon,

in an amount exceeding or which would have exceeded $100,000.



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        15.     During 2000 and 2001, several of the defendants and others met in

what the participants called "Book Club" meetings. These meetings occurred in

Eugene, Oregon; Tucson, Arizona; Santa Cruz, California; and Sisters, Oregon. The

participants conducted classes at these meetings in clandestine methods of committing

direct actions, including the manufacture of mechanical and electrical timing devices for

setting off improvised incendiary devices, reconnaissance of targets, lock-picking, and

computer security.

        16.    On or about September 6, 2000, at Eugene, Lane County, Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS and CHELSEA

DAWN GERLACH unlawfully and willfully caused and aided, abetted, counseled,

commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a building and other real and personal property used in

interstate commerce and in activities affecting interstate commerce, at the Eugene

Police Department West University Public Safety Station, 791 East 13thAvenue,

Eugene, Oregon.

       l6a.   On or about September 6,2000, defendants STANISLAS GREGORY

MEYERHOFF, KEVIN TUBBS and CHELSEA DAWN GERLACH traveled to the

Eugene Police Department West University Public Safety Station and placed time-

delayed incendiary devices at and about the police station.

       17.    On or about January 2, 2001, at Glendale, Douglas County, Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, SUZANNE SAVOIE, and unindicted co-conspirator JACOB JEREMIAH

FERGUSON unlawfully and willfully caused and aided, abetted, counseled,

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commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a building and other real and personal property used in

interstate commerce and used in activities affecting interstate commerce, namely, a

building and its contents located at Superior Lumber Company, 2695 Glendale Valley

Road, Glendale, Douglas County, Oregon.

       17a. On or about January 2,2001, defendants STANISLAS GREGORY

MEYERHOFF, KEVIN TUBBS, DANIEL GERARD McGOWAN, SUZANNE SAVOIE,

and unindicted co-conspirator JACOB JEREMIAH FERGUSON traveled in separate

vehicles to a predetermined staging area at a rest area located just north of the town of

Glendale, Oregon, on Interstate 5, where they dressed in dark clothing and put on their

radio earpieces and masks.

       17b. On or about January 2,2001, defendants STANISLAS GREGORY

MEYERHOFF, KEVIN TUBBS, DANIEL GERARD McGOWAN, SUZANNE SAVOIE,

and unindicted co-conspirator JACOB JEREMIAH FERGUSON traveled to the Superior

Lumber Company building, set up lookouts, positioned the "pick-up" vehicle, placed the

time-delayed incendiary devices, and returned to the staging area.

       17c.   On or about January 2,2001, defendants STANISLAS GREGORY

MEYERHOFF, KEVIN TUBBS, DANIEL GERARD McGOWAN, SUZANNE SAVOIE,

and unindicted co-conspirator JACOB JEREMIAH FERGUSON, upon returning to the

staging area, changed their clothing and disposed of their dark clothing.

       17d. On or about January 6, 2001, certain defendants in the Superior Lumber

Company arson issued a communique attributing the fire to the Earth Liberation Front



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(ELF). The communique was publicized by Craig Rosebraugh of the North American

ELF Press Office.

       18.    On or about March 30,2001, at Eugene, Lane County, Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, NATHAN FRASER

BLOCK, JOYANNA L. ZACHER, and unindicted co-conspirator WILLIAM C.

RODGERS, unlawfully and willfully caused and aided, abetted, counseled,

commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of vehicles and other personal property used in interstate

commerce and in activities affecting interstate commerce, at Joe Romania Chevrolet

Truck Center,1425 Walnut Street, Eugene, Oregon.

       l8a.   On or about March 30,2001, defendants STANISLAS GREGORY

MEYERHOFF, KEVIN TUBBS, NATHAN FRASER BLOCK, JOYANNA L. ZACHER,

and unindicted co-conspirator WILLIAM C. RODGERS traveled to Joe Romania

Chevrolet Truck Center and stationed KEVIN TUBBS and JOYANNA L. ZACHER as

lookouts, while the others placed an incendiary device and plastic containers filled with

gasoline underneath the vehicles and connected the vehicles and containers with

rolled-up sheets soaked in gasoline.

       18b. On or about March 31, 2001, certain defendants in the Romania

Chevrolet arson issued a communique which was publicized by Craig Rosebraugh of

the North American ELF Press Office.

       19.    On or about May 21, 2001, at Clatskanie, Columbia County, Oregon,

defendants STANISLAS GREGORY MEYERHOFF, KEVIN TUBBS, DANIEL GERARD

McGOWAN, CHELSEA DAWN GERLACH, NATHAN FRASER BLOCK, JOYANNA L.

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ZACHER, SUZANNE SAVOIE, and unindicted co-conspirator WILLIAM C. RODGERS

unlawfully and willfully caused and aided, abetted, counseled, commanded, induced,

and procured the malicious damaging and destroying, by means of fire and an

explosive, of buildings, vehicles and other real and personal property used in interstate

commerce and in activities affecting interstate commerce, at Jefferson Poplar Farm,

791 14 Collins Road, Clatskanie, Columbia County, Oregon.

       19a. At a time prior to May 21,2001, defendants STANISLAS GREGORY

MEYERHOFF, NATHAN FRASER BLOCK, JOYANNA L. ZACHER, CHELSEA DAWN

GERLACH, DANIEL GERARD McGOWAN, and unindicted co-conspirator WILLIAM C.

RODGERS participated in a meeting in which it was decided by those present that two

arsons would be carried out at the same time, one at the Jefferson Poplar Farm in

Clatskanie, Oregon, and the other at the University of Washington Horticulture Center

in Seattle, Washington.

       19b. At a time prior to May 21,2001, defendants STANISLAS GREGORY

MEYERHOFF, CHELSEA DAWN GERLACH, DANIEL GERARD McGOWAN, KEVIN

TUBBS, SUZANNE SAVOIE, and unindicted co-conspirator JACOB JEREMIAH

FERGUSON performed a reconnaissance for the arson at the Jefferson Poplar Farm.

       19c.   On or about May 21,2001, defendants STANISLAS GREGORY

MEYERHOFF, DANIEL GERARD McGOWAN, NATHAN FRASER BLOCK, JOYANNA

L. ZACHER, and SUZANNE SAVOIE traveled to Jefferson Poplar Farm.

       19d. On or about May 21,2001, defendants STANISLAS GREGORY

MEYERHOFF, DANIEL GERARD McGOWAN, NATHAN FRASER BLOCK, and

JOYANNA L. ZACHER placed time-delayed incendiary devices at several locations at

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and around the facility, with one of the locations being adjacent to a large propane gas

tank.

        19e. On or about May 21, 2001, certain defendants in the Jefferson Poplar

Farm arson spray-painted graffiti at the site attributing the action to the Earth Liberation

Front (ELF).

        19f.   On or about June 1, 2001, certain defendants in the Jefferson Poplar

Farm arson issued a communique attributing the fire, along with the University of

Washington fire described below, to the Earth Liberation Front (ELF). The communique

was publicized by Craig Rosebraugh of the North American ELF Press Office.

        20.    On or about May 21, 2001, at Seattle, Washington, in the Western District

of Washington, defendants STANISLAS GREGORY MEYERHOFF, CHELSEA DAWN

GERLACH, unindicted co-conspirator WILLIAM C. RODGERS, and other persons

unlawfully and willfully caused and aided, abetted, counseled, commanded, induced,

and procured the malicious damaging and destroying, by means of fire and an

explosive, of a building and other real and personal property used in interstate

commerce and in activities affecting interstate commerce, at the University of

Washington Horticulture Center, Seattle, Washington.

        20a. At a time prior to May 21,2001, defendant STANISLAS GREGORY

MEYERHOFF, unindicted co-conspirator WILLIAM C. ROGERS and other persons

performed one or more reconnaissances of the University of Washington Horticulture

Center, Seattle, Washington.

        20b.   On or about June I,2001, certain defendants in the University of

Washington arson issued a communique attributing the fire, along with the Jefferson

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Poplar Farm fire described above, to the Earth Liberation Front (ELF). The

communique was publicized by Craig Rosebraugh of the North American ELF Press

Office.

          21.    On or before May 28,2001, defendant STANISLAS GREGORY

MEYERHOFF and unindicted co-conspirator WILLIAM C. RODGERS authored and

published a document entitled "Setting Fire with Electrical Timers, an Earth Liberation

Front Guide" in order to expose to a widespread audience their methods of operation

and the design of the "Cat's Cradle" incendiary device so that it would no longer be

unique to the arsons committed by "the Family," thereby hindering detection by law

enforcement.

          22.    On or about October 15, 2001, at Litchfield, California, in the Eastern

District of California, defendants STANISLAS GREGORY MEYERHOFF, JOSEPH

DIBEE, REBECCA RUBIN, KEVIN TUBBS, CHELSEA DAWN GERLACH, DARREN

TODD THURSTON, unindicted co-conspirator WILLIAM C. RODGERS, and other

persons unlawfully and willfully caused and aided, abetted, counseled, commanded,

induced and procured the malicious damaging and destroying, by means of fire and

explosives, of buildings and other real and personal property owned and possessed by

the United States and the Bureau of Land Management of the Department of the

Interior, located at the Wild Horse Facility, Litchfield, California.

          22a.   On or about October 15,2001, defendant STANISLAS GREGORY

MEYERHOFF and other persons placed time-delayed incendiary devices at and about

the Litchfield Wild Horse Facility.



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      22b.   On or about October 30, 2001, certain defendants in the Litchfield Wild

Horse Facility arson issued a communique attributing the fire to the Earth Liberation

Front (ELF). The communique was publicized by David Barbarash at the North

American ALF Press Office.

      All of the above conduct violated Title 18, United States Code, Section 371

                                       COUNT 2

                                         -
                                ARSON CAVEL WEST

      On or about July 21, 1997, at Redmond, Deschutes County, Oregon, in the

District of Oregon, defendants JONATHAN CHRISTOPHER MARK PAUL, KEVIN

TUBBS, JENNIFER LYNN KOLAR and JOSEPH DIBEE, and other persons known to

the Grand Jury, unlawfully and willfully caused and aided, abetted, counseled,

commanded, induced, and procured the malicious damaging and destroying, by means

of fire and an explosive, of a building and other real and personal property used in

interstate commerce and in activities affecting interstate commerce, at Cavel West, Inc.,

1607 SE Railroad, Redmond, Oregon; all in violation of Title 18, United States Code,

Sections 844(i) and 2,
             . .




       Dated this F d a y o f b ! b            ,2006.

                                                KARIN J. IMMERGUT
                                                United States Attorney
                                                District of Oregon



                                                KIRK A. ENGDALL/
                                                Assistant United States Attorney




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